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 7

 8                                  IN THE UNITED STATES DISTRICT COURT

 9                                     EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                                CASE NO. 1:11-CR-00352-LJO-SKO

12                                    Plaintiff,              ORDER DISMISSISING FORFEITURE
                                                              ALLEGATION
13          v.

14   MARK BAGDASARIAN,
     RYAN BAGDASARIAN,
15
                                      Defendants.
16

17          IT IS HEREBY ORDERED that the forfeiture allegation be dismissed from the superseding
18 indictment as to defendants Mark Bagdasarian and Ryan Bagdasarian (ECF. 42) in the above-captioned

19 case without prejudice.

20

21 IT IS SO ORDERED.

22
        Dated:      December 28, 2017                             /s/ Lawrence J. O’Neill _____
23                                                        UNITED STATES CHIEF DISTRICT JUDGE

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28

      [Proposed] Order Dismissing Forfeiture Allegation       1
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